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IN THE UNITED sTATEs DISTRICT coURT men BY 'c’
FoR THE WESTERN DISTRICT oF TENNESSEE
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WESTERN DIVISION 05 AUJ h AH 9 02

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IssAc B. TIGRETT, III,

 

Plaintiff,
v. No. 03-2659 MI/V

UNITED STATES OF AMERICA,

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Defendant.

 

OPINION AND ORDER FOLLOWING NON-JURY TRIAL

 

The Court held a non-jury trial in this case on November 22,
2004. Plaintiff Isaac Tigrett was represented by Cannon Allen,
Esq. and Lloyd DeVos, Esq. Defendant United States of America
was represented by R. Scott Clarke and Ivan C. Dale, Esq., Trial
Attorneys for the Tax Division of the Department of Justice. In
this action, Plaintiff seeks a refund for his 1997 taxes arising
from a loss in 199? and carrying back from 199? to 1994, 1995,
and 1996.

I. FINDINGS OF FACT

The relevant facts in this case are largely undisputed and
are contained in the November 22, 2004, Joint Pre-trial Order
(Docket No. 45). Plaintiff was the only witness to testify at
trial. His testimony was consistent with the allegations made in
his Complaint, his summary judgment papers, and the Joint Pre-

trial Order. Plaintiff was a credible witness.

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with Rule 58 and/or 79(a) FRCP on Q\:)

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Plaintiff timely filed tax returns for the years 1994, 1995,
1996, and 1997. On November 17, 2000, Plaintiff timely filed
amended tax returns for 1994, 1995, 1996, and 1997, claiming a
refund of Federal income taxes in the amount of $34,846 for 1994,
$143,043 for 1995, $121,075 for 1996, $122,764 for 1997 and
$105,990 for 1998. The amended returns claimed a loss for the
year 1997 and a carry~back to reduce Plaintiff’s tax liability
for 1994, 1995, and 1996. While the Internal Revenue Service
issued a refund for the year 1998 based on a carry-forward of the
1997 loss, the Internal Revenue Service took no action regarding
Plaintiff's 1994, 1995, 1996, and 1997 tax refund claims for more
than a year after the refund claims were filed. Because the
Internal Revenue Service declined to enter an agreement tolling
the limitations period provided by the Internal Revenue Code,
Plaintiff filed this suit to preserve his rights. Plaintiff
exhausted all administrative remedies available to him prior to
filing this suit.

Plaintiff is in the business of originating and developing
concept restaurants and entertainment venues. (Trial Tr. at 17-
26.) Between 1990 and 1992, Plaintiff conceived of, developed,
promoted and financed the House of Blues, a restaurant and
entertainment venue. In 1992, Plaintiff became the chief
executive officer of HOB Entertainment, Inc.(“HOB”), the

corporation formed to develop the House of Blues concept. He

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served in that capacity until the termination of his employment
in 1997.

In early 1996, HOB was afforded the opportunity to open a
temporary House of Blues venue in Centennial Park in Atlanta,
Georgia, during the 1996 Olympic games. At that time, Plaintiff
owned approximately 11.9% of the outstanding shares of HOB and
his investment of $2,000,000 was less than 10% of its capital.
Plaintiff held the title of Chairman and served on the Board of
Directors of HOB, but did not own a controlling interest in HOB.
Plaintiff's employment as Chairman and Chief Executive Officer of
HOB was pursuant to an employment contract. That contract
provided that HOB’s failure to generate profits for any fiscal
year ending on or after December 31, 1996, would trigger a
provision allowing HOB to terminate Plaintiff's employment.
Plaintiff understood his employment with HOB to be dependent on
his generating profits for the company and value for the
shareholders.

Because some of the members of the Board of Directors of HOB
were concerned that the proposed Atlanta venue might not be
successful, Plaintiff, along with board members Dan Ackroyd and
Kit Goldsbury, agreed that in the event HOB lost money in
connection with the Olympic venture they would contribute funds
to cover the shortfall. No part of that agreement was intended

to be structured as a loan to HOB. Plaintiff received no

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additional shares, stock options, or any other type of security
in exchange for this indemnification. Thereafter, HOB resolved
to advance up to $7,000,000 in connection with the House of Blues
Atlanta venture and established a subsidiary company, House of
Blues Atlanta, Inc.(“HOB Atlanta”), to operate the temporary
venue in Atlanta. HOB provided all of the capital used by HOB
Atlanta in operating the temporary venue. HOB anticipated that
the funds used for the temporary venue in Atlanta would be repaid
from either the profits resulting from the venue or via the
indemnification agreement.

The temporary venue was set up to operate during the Atlanta
Olympic Games, but was closed for four and one-half days
following the explosion of a bomb in Centennial Park.

Ultimately, the accountants for HOB determined that HOB lost more
than $10,000,000 from the operation of the temporary Atlanta
venue. On October 23, 1996, the HOB Board of Directors requested
that Plaintiff honor his agreement to indemnify HOB for such
losses. In order to raise $5,000,000 to honor his indemnity
agreement, Plaintiff pledged his free shareholdings and options
in HOB to Parkway Hotel Corporation in exchange for a loan in
that amount. The share certificates and option agreements were
placed in trust at First Union Bank. The documents for the loan
were drawn up and dated December 31, 1996. The loan closed in

January of 1997 at which time Plaintiff paid HOB $5,000,000.

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Plaintiff was terminated as Chief Executive Officer of HOB
by October of 1997 and he continues to own the HOB shares and
options that were pledged to Parkway Hotel Corporation.l
Plaintiff has transferred HOB shares in consideration for
Parkway’s forbearance from enforcing its rights under the loan
agreement, but Plaintiff has never made any payments of principal
or interest on the loan itself. In connection with the loan from
Parkway Hotel Corp. and the deposit of funds into the First Union
escrow account, Plaintiff paid $22,601 in legal fees and earned
interest of $1,709.

II. CONCLUSIONS OF LAW AND ANALYSIS

Plaintiff claims that he is entitled to a tax deduction
because the $5,000,000 at issue represents a business bad debt
under § 166 of the Internal Revenue Code, 26 U.S.C § 166. In the
alternative, Plaintiff asserts that even if he is not entitled to
a deduction under § 166, he is nonetheless entitled to a
deduction under § 162 as an ordinary and necessary business
expense or under § 165 as a loss incurred in operating a trade or
business. Plaintiff also contends that he is entitled to deduct
certain legal and interest expenses and that he is entitled to an

award of attorney’s fees in conjunction with this action.

 

1 The accountants who prepared Plaintiff’s original Federal
income tax returns for 1997 mistakenly reflected that these
interests had been sold. This mistake was later discovered and
the amended returns at issue were filed.

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Defendant contends that Plaintiff is not entitled to a refund
under §§ 166, 162 or 165, and that his request for attorney's
fees is premature. With respect to each of Plaintiff's claims,
the Court will first set forth its conclusions of law and then
its analysis.

As a preliminary matter, Plaintiff bears the burden of
proving by a preponderance of the evidence that he is entitled to
the tax deductions that are the basis of his claims. United Dairy
Farmersl Inc. v. United States, 267 F.3d 510, 515-16 (6th Cir.
2001)(citing United States v. Janis, 428 U.S. 433, 440-41
(1976)); see also INDOPCO, Inc. v. Comm’r of Internal Revenue,
503 U.S. 79, 84 (1992)(“[A]n income tax deduction is a matter of
legislative grace and ... the burden of clearly showing the right
to the claimed deduction is on the taxpayer.”).

A. 26 U.S.C. § 166

Under § 166(a)(1), debts that become worthless during a
taxable year may be deducted in that year. 26 U.S.C. § 166(a)(1}.
To establish a claim for a deduction under § 166, a plaintiff
must show: {l) a valid debtor-creditor relationship or a bona
fide debt; (2) a debt created or acquired in connection with a
trade or business; (3) the amount of the debt; (4) the
worthlessness of the debt; and (5) the year in which the debt
became worthless. Davis v. Comm’r of Internal Revenuer 866 F.2d

852, 859 (6th Cir. 1989).

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Because a capital contribution is not considered debt for
the purposes of § 166, a taxpayer must prove that an advance to a
corporation constitutes a true loan and not a contribution to
capital. Roth Steel Tube Co. v. Comm'r of Internal Revenue, 800
F.2d 625, 629 (6th Cir. 1986); Smith v. Comm'r of Internal
Revenue, 370 F.2d 178, 180 (6th Cir. 1966). However, “[a}dvances
between a parent corporation and a subsidiary . . . are subject
to particular scrutiny ‘because the control element suggests the
opportunity to contrive a fictional debt.’” Roth Steel Tube Co.,
800 F.2d at 630 (quoting United States v. Uneco, Inc., 532 F.2d
1204, 1207 (8th Cir. 1976) (internal citations omitted)).

Whether an advance to a corporation constitutes a capital
contribution or a loan is a question of fact and turns on
“whether the objective facts establish an intention to create an
unconditional obligation to repay the advances.” Bgth_§teel_lgbe

Co., 800 F.2d at 629-30. In Roth Steel Tube Co., the United

 

States Court of Appeals for the Sixth Circuit identified eleven
factors to consider in determining whether an advance is a
capital contribution or a loan:

(1) the names given to the instruments, if any,
evidencing the indebtedness; (2) the presence or
absence of a fixed maturity date and schedule of
payments; (3) the presence or absence of a fixed rate
of interest and interest payments; (4) the source of
repayments; (5) the adequacy or inadequacy of
capitalization; {6) the identity of interest between
the creditor and the stockholder; (7) the security, if
any, for the advances; (8) the corporation’s ability to
obtain financing from outside lending institutions; {9)

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the extent to which the advances were subordinated to
the claims of outside creditors; (10) the extent to
which the advances were used to acquire capital assets;
and (11) the presence or absence of a sinking fund to
provide repayments.
Roth Steel Tube Co., 800 F.2d at 630. In considering these
factors, “no one factor is controlling or decisive, and the court
must look to the particular circumstances of each case.” ld.

To qualify for a business bad debt deduction, the taxpayer
must also establish that the debt was proximately related to the
conduct of the taxpayer’s trade or business. United States v.
Generes, 405 U.S. 93, 103 (1972). “fI]n determining whether a
bad debt has a ‘proximate’ relation to the taxpayer’s trade or
business...the proper measure is that of dominant motivation”
underlying the transaction. ld. Where a taxpayer is both an
employee and shareholder, the taxpayer’s “dominant motivation”
may be either business-related or investment-related. Litwin v.
United States, 983 F.2d 997, 999-1000 (10th Cir. 1993). A
taxpayer may take a deduction for a bad debt only if his dominant
motivation is business related. ld. at 1000. The Litwin Court
noted “three objective factors” upon which courts focus “in
determining a taxpayer’s dominant motivation: (1) the size of
taxpayer’s investment, (2) the size of taxpayer’s after-tax
salary, and (3) other sources of gross income available to the

taxpayer.” ld.

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Plaintiff contends that he is entitled to a deduction under
§ 166. Defendant contends that Plaintiff is not entitled to such
a deduction because he cannot prove the existence of a bona fide
debt. In particular, Defendant contends that the underlying
transaction represents a capital contribution rather than a loan.
Defendant further contends that the debt does not bear a
proximate relationship to Plaintiff’s trade or business because
his dominant motivation in incurring the debt was investment
related and not in furtherance of his interest as an employee of
HOB.

i. Bona Fide Debt

In order to obtain a deduction under § 166, a taxpayer must

demonstrate that the underlying transaction gave rise to a bona

fide debt. Davis, 866 F.2d at 859. Plaintiff contends that a

 

bona fide debt arose from the underlying transaction because the
advance from HOB to HOB Atlanta was a loan indemnified by
Plaintiff. Specifically, Plaintiff contends that certain 39th
Steel Tube Co. factors such as the source of repayment, the fixed
maturity date of the obligation, the security for the obligation,
and the ability to obtain outside financing, support treating the
advance as a loan. Defendant contends that there is no bona fide
debt because all of the Roth Steel Tube Co. factors support
treating the advance from HOB to HOB Atlanta as a capital

contribution rather than a loan. In light of the entire record,

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and considering all of the Roth Steel Tube Co. factors in the
context of the particular circumstances of this case, the Court
finds that Plaintiff has failed to meet his burden to prove that
the advance should be treated as a loan.

Most of the Roth Steel Tube Co. factors weigh in favor of
finding that the advance from HOB to HOB Atlanta was a capital
contribution rather than a loan. Specifically, there is no
evidence in the record of any promissory note regarding the
advance. (Trial Tr. at 58.) Accordinglyr there is no instrument
evidencing an indebtedness. Further, the evidence reflects that
there was no fixed maturity date or schedule of payments, that no
interest was charged on the advance, and that no interest
payments were made.2

The only security interest attached to the advance was
Plaintiff and the other investors’ agreement to indemnify HOB for
any losses. Even that agreement, however, did not necessarily
provide for a full repayment of the advance. Rather, the

undisputed evidence shows that the source of the repayment was

 

2 Although Plaintiff contends that the advance was to be
repaid 45 days after the end of the Olympics, the only evidence
to support that contention is Plaintiff's own testimony and the
minutes of the May 29, 1996, HOB Board of Directors meeting. The
board minutes, however, merely state that “there would be a final
accounting [of] the [results] of the House of Blues Atlanta
venture within 45 days after the conclusion of the Olympics.”
(Trial Ex. 16.) Even if the Board Meeting minutes did establish
a fixed maturity date, however, the Court finds that factor
outweighed by the other factors weighing in favor of finding the
advance to be a capital contribution.

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intended to be the profits from the venture, and indemnification
only attached to losses from the venture, Absent such losses,
there would have been no obligation for Plaintiff and the other
investors to repay the advance. Additionally, since any
repayment to HOB from HOB Atlanta was designated to come from the
profits of the venture or through the indemnification agreement,
HOB would be subordinated to claims of creditors of HOB Atlanta.

Moreover, the advance itself was the only source of
capitalization for HOB Atlanta. Therefore, HOB Atlanta was
significantly undercapitalized, making it unlikely that HOB
Atlanta would be able to obtain financing from outside lending
institutions.3 Additionally, the identities of the creditor and
stockholder were identical, since HOB Atlanta was set up as a
subsidiary of HOB, HOB owned 100% of the shares of HOB Atlanta
and HOB provided 100% of the financing. That financing, in turn,
funded all operations and capital expenditures of HOB Atlanta.
There was also no evidence that any “sinking fund” existed to
provide repayments.

Having considered the entire record in light of the 39th
Steel Tube Co. factors, the Court finds that Plaintiff has failed

to meet his burden to prove that the advance from HOB to HOB

 

3 Although there is evidence in the record to show that HOB
Atlanta may have been able to obtain outside financing in the
amount of $7,000,000 (Trial Tr. at 30, 62), the Court finds that
factor outweighed by the other factors which weigh in favor of
finding the advance to be a capital contribution.

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Atlanta was a loan rather than a capital contribution.
Accordingly, Plaintiff's claim that he was entitled to a
deduction under § 166 must fail.4

B. 26 U.S.C. § 162

In order to claim a deduction under § 162, “an item must (1)
be ‘paid or incurred during the taxable year,’ (2) be for
‘carrying on any trade or business,' (3) be an ‘expense,' (4) be
a ‘necessary’ expense, and (5) be an ‘ordinary' expense.” Comm'r
of Internal Revenue v. Lincoln Savings & Loan Ass'n, 403 U.S.
345, 352 (1971). The parties dispute whether Plaintiff’s
$5,000,000 payment to HOB to indemnify it for losses attributable
to the HOB Atlanta venture was an “ordinary” expense.

“The principal function of the term ‘ordinary' in [§I 162(a)
is to clarify the distinction, often difficult, between those

expenses that are currently deductible and those that are in the

 

4 Although Plaintiff has failed to meet his burden to prove
that the advance to HOB Atlanta was a loan rather than a capital
contribution, the Court finds that, having reviewed the record
and considered all of the relevant Litwin factors, Plaintiff has
proven by a preponderance of the evidence that his dominant
motivation in indemnifying the advance from HOB to HOB Atlanta
was business related and, therefore, that the debt was
proximately related to the conduct of his trade or business. In
particular, the record indicates that Plaintiff may have been
motivated to indemnify the HOB Atlanta venture, at least in part,
in order to convince the HOB Board of Directors of his ability to
promote the growth of the company and thereby secure his position
as Chairman and Chief Executive Officer. Unfortunately, because
the venture failed, Plaintiff did not succeed in so convincing
the Board and his employment as Chairman and Chief Executive
Officer was terminated.

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nature of capital expendituresr which, if deductible at all, must
be amortized over the useful life of the asset.” Comm'r of
Internal Revenue v. Tellier, 383 U.S. 687, 689-90 (1966){citation
omitted). Although an expense may be “ordinary” even if it
happens only “once in the taxpayer’s lifetime,” “the transaction
which gives rise to it must be of common or frequent occurrence
in the type of business involved.” Deputv v. Du Pont, 308 U.S.
488, 495 (1940)(citations omitted).

Section 162 was “primarily intended to cover recurring
expenditures where the benefit derived from the payment is
realized and exhausted within the taxable year.” Stevens v.
Comm'r of Internal Revenue, 388 F.2d 298, 300 (6th Cir. 1968).
Further, “a taxpayer’s realization of benefits beyond the year in
which the expenditure is incurred is undeniably important in
determining whether the appropriate tax treatment is immediate
deduction or capitalization.” INDOPCOl Inc., 503 U.S. at 87-88.

Defendant contends that Plaintiff is not entitled to a
deduction under § 162 because Plaintiff's indemnification promise
was an extraordinary expense, and because any benefits to be
realized by Plaintiff due to HOB's investment in HOB Atlanta were
to be realized over the long-term. Plaintiff contends that the
expense was not extraordinary because the funding and/or
guaranteeing of debt is related to his trade or business of

developing and promoting restaurants, and that Plaintiff’s

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guarantee of the debt was further intended to promote the HOB
brand, assist in developing interest for a forthcoming initial
public offering of shares, and gain enhanced compensation as
Chairman and Chief Executive Officer.

Having reviewed the record and considering the relevant
factors, the Court finds that Plaintiff has failed to meet his
burden to prove that his indemnification payment was an
“ordinary” expense within the meaning of § 162. Although
Plaintiff contends that he has entered into similar
indemnification agreements in the past (Trial Tr. at 39-41),
there is no evidence in the record to show that it is a common or
frequent occurrence in the restaurant and entertainment business
for an officer of a corporation to make a personal guarantee in
an amount several times his annual salary to encourage the
corporation to undertake a new venture, Additionally, the Court
finds that, based upon the evidence in the record, the primary
intended benefits of Plaintiff’s indemnification of the venture
were to build the HOB brand and develop interest in a forthcoming
initial public offering of shares. (Trial Tr. at 29, 64.) Those
benefits would likely be realized outside of the taxable year -
and therefore are more appropriately treated as capital
expenditures. Accordinglyr Plaintiff's claim that he is entitled

to a deduction under § 162 must also fail.

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C. 26 U.S.C. § 165(c)(1)

Plaintiff next contends that he is entitled to a deduction
under 26 U.S.C. § 165(c)(1) because his payment of the guarantee
was a loss incurred in his trade or business of developing and
promoting restaurants and entertainment venues. Section 165
provides, in pertinent part:

(a) General rule. There shall be allowed as a deduction

any loss sustained during the taxable year and not

compensated for by insurance or otherwise.

ici Limitation on losses of individuals. In the case of

an individual, the deduction under subsection (a) shall

be limited to

(1) losses incurred in a trade or business....

26 U.S.C. § 165. In order to qualify for a deduction under §
165, then, Plaintiff must have incurred a loss, and that loss
must have been incurred in his trade or business. Scant
authority exists, however, interpreting § 165(c){1) and
developing the legal principles that determine whether a given
transaction qualifies for a deduction under § 165. Ratherr the
inquiry into what qualifies for a deduction under § 165(c)(1)
appears to be fact specific. Accordingly, the Court will
determine whether Plaintiff incurred a loss within his trade or
business based upon the specific facts of this case.

As a preliminary matter, the Court finds that Plaintiff was
engaged in the trade or business of developing and promoting

restaurants and entertainment venues. “[I]t is not a necessary

prerequisite that one devote himself completely to an enterprise

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to qualify it as a trade or business.” Mercer v. Comm’r of
Internal Revenue, 376 F.2d 708, 710 (9th Cir. 1967){citing Marsch
v. Comm’r of Internal Revenue, 110 F.Zd 423, 424 (7th Cir.
1940)). The existence of a profit motive is the most important
criterion for determining whether a course of activity
constitutes a trade or business. Lamont v. Comm’r of Internal
Revenue, 339 F.2d 377, 380 (2nd Cir. 1964); see also Hirsch v.
Comm’r of Internal Revenue, 315 F.2d 731, 737-38 (9th Cir.
1963){finding ownership of race track could not be considered
trade or business because the basic and dominant intention of the
taxpayer was not a desire for profit).

In the parties' November 22, 2004, Joint Pretrial Order, the
parties stipulated to the fact that “Plaintiff is a developer and
promoter of restaurant and entertainment businesses.” (November
22, 2004, Joint Pre-Trial Order at 4.} Additionally, substantial
evidence exists in the record to show that Plaintiff has
developed and promoted several concept restaurants and
entertainment venues, including the Hard Rock Café, the House of
Blues, as well as new ventures such as Bozo’s Hot Pit Bar-B-Que
and the Spirit Channel. (Trial Tr. at 17-25.) Those ventures
were undertaken for profit and, in the case of the Hard Rock Café
and the House of Blues, generated significant profits. (Trial Tr.
at 17-25; 68-69.) Plaintiff demonstrated throughout his

testimony that his success as a developer and promoter of such

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businesses involved developing a brand identity for that
particular venue and then continuously building that brand
nationally and/or internationally. (Trial Tr. at 67-69.)
According to his testimony, the Atlanta venture offered an
opportunity to expose the House of Blues brand to an
international audience. (Trial Tr. at 29.) Accordingly, the
Court finds that Plaintiff has proven by a preponderance of the
evidence that he was engaged in the trade or business of
developing and promoting restaurants and entertainment venues.

However, the Court finds that Plaintiff has failed to meet
his burden to prove that his payment to indemnify HOB for losses
from the Atlanta venture was a loss that qualifies for a
deduction under § 165(c)(1). There is no question that Plaintiff
incurred a loss in the sense that he paid out to HOB $5 million
in conjunction with the contribution agreement. The government
contends, however, that any such loss was voluntary and therefore
should not be eligible for a deduction.

Generally, the voluntary payment of another's losses without
any legal obligation to do so does not qualify as a loss pursuant
to § 165. A. Giurlani & Bros. v. Comm’r of Internal Revenue, 119
F.2d 852, 857 (9th Cir. 1941). Here, although Plaintiff's
payment to HOB was made pursuant to his agreement to do so, and
in that sense was not voluntary, his agreement to provide

indemnification to HOB was a voluntary agreement. That agreement

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was originally memorialized in the minutes of the May 29, 1996,
HOB Board of Directors meeting. (See Trial Ex. 16.) Those
minutes do not reflect that any consideration was requested or
received by Plaintiff or the other directors who provided
indemnification for the venture. Accordingly, the Court finds
that Plaintiff’s agreement to indemnify HOB for losses stemming
from the Atlanta venture was voluntary and without consideration
and therefore does not qualify for a deduction under § 165.
Moreover, the parties stipulated and Plaintiff admitted
during his testimony that he would not personally profit from
either the indemnification agreement or the Atlanta venture.
{November 22, 2004, Joint Pre-trial Order at 7; Trial Tr. at 67.)
Rather, the best result that Plaintiff could have expected was
not to have to make a payment under the indemnification
agreement. Where the best result a taxpayer can expect from a
transaction is not to have to make a payment under an agreement,
however, a taxpayer’s motive is not to profit from the agreement
and a deduction under § 165 is not appropriate. _§§ Clark v.
Kavanaghr 59 F.Supp. 806, 808 (E.D. Mich 1944), afild 152 F.2d 49
(6th Cir. 1945)(finding deduction of loss inappropriate where

taxpayer agreed to indemnify co-trustees in order to induce them

to retain an investment in the trust portfolio because, inter

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alia, transaction was not for profit)5; c.f. Hogan v. Comm'r of
Internal Revenue, 3 T.C. 691, 694-95 (U.S. Tax Court
1944)(finding deduction of loss incurred by stockbroker who
personally guaranteed customers against any losses arising from
their purchase of stock appropriate because he stood to profit
from the stock transaction, which would not have been made
without his personal guarantees, and where the guarantees were
not gratuitous but a condition precedent to the agreement to
purchase stock). The record reflects that Plaintiff was not
required to enter into the indemnification agreement, that he did
not receive any consideration for doing so, and that he could not
have profited in any way from his agreement to do so. (See Trial
Ex. 16.) For those reasons, the Court finds that Plaintiff is
not entitled to a deduction under § 165.

Accordingly, having reviewed the record and considering the
relevant law, the Court finds that Plaintiff has failed to meet
his burden to prove by a preponderance of the evidence that he is

entitled to a deduction under § 165.6

 

5 Although Clark deals with the propriety of a deduction
under 28 U.S.C. § 165(c)(2)r which allows for the deduction of
losses incurred in any transaction entered into for profit,
though not connected with a trade or business, Clark, 59 F.Supp.
at 808, the Court finds the Clark court's reasoning persuasive
and adopts it in the context of analyzing the propriety of a
deduction under § 165(c)(1).

6 Plaintiff alternatively contends that Defendant is either
estopped from denying Plaintiff a refund under §§ 166, 162 or 165
(continued...)

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D. Legal and Interest Expenses Pursuant to 26 U.S.C. §§ 162

and 212

Plaintiff also contends that he is entitled pursuant to 26
U.S.C. §§ 162 and 212 to deduct $22,601 for legal fees paid in
connection with the negotiation of the termination of his
employment from HOB and for negotiation and documentation of the
loan transaction with Parkway Hotel Corp., and $1,709 in interest
paid by First Union on cash balances in the escrow account
established to hold the HOB shares and option agreements
deposited with First Union as security for the loan to Parkway
Hotel Corp. Defendant does not oppose or challenge either of
those assertions. Accordingly, the Court finds that Plaintiff is
entitled to a deduction of $22,601 for legal fees and $1,709 for

interest under 26 U.S.C. §§ 162 and 212.

 

(...continued)

or that Defendant made a binding admission that the losses
incurred by Plaintiff in 1997 are deductible because it allowed a
portion of the claimed deduction for the taxable year 1998 and
because the Internal Revenue Service issued a refund to Plaintiff
for the amount of the refund claimed for 1998. Plaintiff,
however, cites no legal authority for this contention, which he
first raised in his sur-reply to Defendant's reply brief in
support of Defendant's motion for summary judgment. (See Pl.'s
Sur-Reply Brief Sub. in Resp. to Def.'s Reply Brief in Supp. of
its Mot. for Summ. J. at 8.). Moreover, when the I.R.S. accepts
a particular tax treatment of an item for one or more tax years,
it is not estopped from challenging such treatment in other
years. See Dinkins v. Comm’r of Internal Revenue, 378 F.2d 825,
829 (8th Cir. 1967)(finding I.R.S. not precluded from determining
that taxpayer was not entitled to deduction in succeeding taxable
years when it had previously approved a similar deduction in an
earlier taxable year.). The Court therefore finds Plaintiff's
contention unpersuasive.

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E. Attorney’s Fees Pursuant to 26 U.S.C. § 7430

Plaintiff also contends that he is entitled to an award of
attorney's fees pursuant to 26 U.S.C. § 7430. Section 7430
provides that “[i]n any administrative or court proceeding which
is brought by or against the United States in connection with the
determination, collection, or refund of any tax, interest, or
penalty under this title, the prevailing party may be awarded a
judgment or a settlement for ... reasonable litigation costs
incurred in connection with such court proceeding.” 26 U.S.C. §
7430(a). Those reasonable costs may include attorney's fees. 26
U.S.C. § 7430(c)(1)(B)(iii). However, because the Court has
determined that Plaintiff is not entitled to a deduction under §§
166, 162 or 165r the Court finds that Plaintiff is not a
“prevailing party” and therefore is not entitled to an award of
attorney's fees pursuant to 26 U.S.C. § 7430.
III. CONCLUSION

For the foregoing reasons, the Court finds that Plaintiff is
not entitled to his claimed deduction under either 26 U.S.C. §§
166, 162 of 165 and therefore enters judgment in favor of
Defendant on those claims. The Court further finds that
Plaintiff is entitled to a deduction of $22,601 for legal fees
and $1,709 for interest under 26 U.S.C. §§ 162 and 212 and enters
judgment in favor of Plaintiff on those claims. Finally, the

Court finds that Plaintiff is not entitled to an award of

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attorney's fees pursuant to 26 U.S.C. § 7430 and enters judgment

in favor of Defendant on that claim.

so 0RDERED this \3 day of August, 2005.

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JO P. MCCALLA
U TED STATES DISTRICT JUDGE

 

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